                                  CASE 0:15-cr-00235-JNE-TNL Doc. 40 Filed 08/26/15 Page 1 of 1

                                              IN THE UNITED STATES DISTRICT COURT
                                                 FOR THE DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA,                                   )           COURT MINUTES - CRIMINAL
                                                            )                   BEFORE: Becky R. Thorson
                                     Plaintiff,             )                      U.S. Magistrate Judge
                                                            )
   v.                                                       )   Case No:               15-cr-235 (7) JNE/TNL
                                                            )   Date:                  August 26, 2015
                                                            )   Courthouse:            St. Paul
Albert Donell Payne (7),                                    )   Courtroom:             3A
Aka Black                                                   )   Time Commenced:        11:07 a.m.
                       Defendant.                               Time Concluded:        11:17 a.m.
                                                                Time in Court:         10 Minutes


 DETENTION HRG

APPEARANCES:
   Plaintiff:                        Tom Hollenhorst, Assistant U.S. Attorney
   Defendant:                        Patrick Flanagan
                              ☐       FPD          X CJA         ☐ Retained      ☐ Appointed


On X Indictment                    Dated: August 19, 2015

X Deft Ordered Detained - Govt to submit proposed order


Additional Information:


Defendant arraigned, see arraignment minutes and order.




                                                                                                     s/Melissa S. Kruger
                                                                                                      Signature of Clerk




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